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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

DAVENPORT DIVISION
MARY ANN KELLY, : Civil Action No. 3:12-cv-00112
Plaintiff,
vs.
ASSET ACCEPTANCE, LLC,
Defendant.

 

DISMlSSAL WITH PREJUDlCE
Plaintiff Mary Ann Kelly, by her attorney Ray Johnson, hereby dismisses the above-

captioned matter With prej udice.

Respectfully submitted this S%day Of l \)OU@{Y] hew , 2012.

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JOHNSON LAW FIR_M
950 Offlce Park Rd.
Suite 221
West Des Moines, lowa 50265
Phone: (5 l 5) 224-7090
Fax: (515) 222-2656
10huson[a\x»'Z¥)@a()l.com

